                 UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

In Re:                                             Chapter 13
                                              Case No.: 13-60744-pjs
Bruce G. Neller and                                Judge: Phillip J.
Shefferly
Star A. Neller
________       _________ ________ Debtor(s) _/
Bruce G. Neller,
                            Plaintiff,

v.                                            Adv. Proc. No. 19-04158-pjs
                                              Judge Phillip J. Shefferly

National Master Student Loan Trust-1,
et al.,
_______________________________               Defendants._/

                         CONSENT JUDGMENT

      The parties having stipulated to the resolution of this adversary
proceeding; the Court being otherwise fully advised in the premises;
      IT IS HEREBY ORDERED that, pursuant to 11 U.S.C. 523(a)(8),
all of the debts referenced in the Complaint are DISCHARGED;
      IT IS FURTHER ORDERED that this judgment and discharge are
without any effect whatsoever as to the other borrowers on the debts hereby
discharged as to Plaintiff and all rights and remedies of Defendants are
otherwise reserved.


Signed on January 15, 2020




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